BLANK HEADER FOR
RECORDING PURPOSES




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,                 : Civil No. 1:06CV01045
                   Plaintiff,             :
                                          :
            v.                            :
                                          :
18 CHARLESTOWNE COURT, PAWLEYS            :
ISLAND, GEORGETOWN COUNTY, SOUTH          :
CAROLINA, TAX MAP NUMBER                  :
04-0142-152-00-00, WITH ALL APPURTENANCES :
AND IMPROVEMENTS THEREON, et al.          :
                        Defendants.       :

                  DECREE AND JUDGMENT OF FORFEITURE

      On December 5, 2006, a Verified Complaint of Forfeiture was filed on behalf of the

plaintiff, United States of America. An Amended Verified Complaint of Forfeiture was filed

against the defendant properties on March 13, 2007.

      It appearing that process was fully issued in this action and returned according to law:

      The Internal Revenue Service posted the following properties on May 9, 2007 with

copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of Forfeiture,

Lis Pendens, Warrant for Arrest, and Legal Notice:




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a.    104 West Main Street, Bennettsville, Marlboro County, South Carolina;

b.    564 Highway 74 West, Rockingham Township, Richmond County, North

      Carolina;

c.    108 Broad Street, Bennettsville, Marlboro County, South Carolina;

d.    500 East Main Street, Hamlet, Richmond County, North Carolina;

e.    500 East King Street, Hamlet, Richmond County, North Carolina;

f.    500 Mill Road, Hamlet, Richmond County, North Carolina;

g.    18 Charlestowne Court, Pawley’s Island, Georgetown County, South Carolina,

      and all furnishings, fixtures, and equipment at that address;

h.    17-B North Ocean Boulevard, Surfside Beach, Horry County, South Carolina,

      and all furnishings, fixtures, and equipment at that address;

i.    341 South Dunes Drive, Unit C-33; Captain’s Quarter’s Shipyard Village,

      Pawley’s Island, Georgetown County, South Carolina, and all furnishings,

      fixtures, and all equipment at that address;

j     611-A South Ocean Boulevard, Surfside Beach, Horry County, South

      Carolina, and all furnishings, fixtures, and equipment at that address;

k.    1017-A South Ocean Boulevard, Surfside Beach, Horry County, South

      Carolina, and all furnishings, fixtures, and equipment at that address; and

l.    1414-B North Ocean Boulevard, Surfside Beach, Horry County, South

      Carolina, and all furnishings, fixtures, and equipment at that address.


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      The Internal Revenue Service posted the following defendant properties on May 10,

2007 with copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of

Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice:

      a.     1779 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address;

      b.     1052 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address;

      c.     11 Pinewood Drive, Surfside Beach, Horry County, South Carolina, and all

             furnishings, fixtures, and equipment at that address;

      d.     1050 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address;

      e.     1018 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address;

      f.     902 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address;

      g.     969 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address; and

      h.     1875 South Waccamaw Drive, Garden City, Georgetown County, South

             Carolina, and all furnishings, fixtures, and equipment at that address.

      The Internal Revenue Service posted the following defendant properties on May 12,


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2007 with copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of

Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice:

      a.     1017-B South Ocean Boulevard, Surfside Beach, Horry County, South

             Carolina, and all furnishings, fixtures, and equipment at that address; and

      b.     1214-B North Ocean Boulevard, Surfside Beach, Horry County, South

             Carolina, and all furnishings, and equipment at that address.

      The Internal Revenue Service posted the following defendant properties on May 30,

2007 with copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of

Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice:

      a.     Lot 3, Block 1 of Lakewood Heights, Socastee Township, Myrtle Beach,

             Horry County, South Carolina; and

      b.     .85 acres designated as the remaining portion of TMS 191-15-10-014, Surfside

             Beach, Horry County, South Carolina.

      Notice of said forfeiture action was published on May 3, May 10 and May 17, 2007,

in The Sun News, a newspaper published in Horry County, South Carolina and Georgetown

County, South Carolina; on May 3, May 10, and May 17, 2007, in the Richmond County

Daily Journal, a newspaper published in Richmond County, North Carolina; on May 3, May

10, and May 17, 2007 in the Marlboro Herald-Advocate, a newspaper published in Marlboro

County, South Carolina.

      On April 17, 2007, The Richmond County Tax Assessor was served via certified mail


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with copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of

Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice.

       On April 18, 2007, Coastal Federal Bank, the Horry County Assessor’s Department,

and Wachovia Bank were served via certified mail with copies of the Verified Complaint of

Forfeiture, Amended Verified Complaint of Forfeiture, Lis Pendens, Warrant for Arrest, and

Legal Notice.

       On April 19, 2007, First Palmetto Savings Bank, the South Carolina Department of

Revenue, HSBC USA, NA, and the Georgetown County Tax Assessor were served via

certified mail with copies of the Verified Complaint of Forfeiture, Amended Verified

Complaint of Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice.

       On April 23, 2007, Otis Harrison, individually and Rose Harrison, individually, were

served with copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of

Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice by and through their attorney,

Luther D. Starling, Jr., Esquire.

       On April 23, 2007, Robert Harrison, individually and as Officer and Owner of

Shamrock, LLC, was served with copies of the Verified Complaint of Forfeiture, Amended

Verified Complaint of Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice by and

through his attorney, William L. Osteen, Jr., Esquire.

       On April 23, 2007, the Marlboro County Tax Assessor was served via certified mail

with copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of


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Forfeiture, Lis Pendens, Warrant for Arrest, and Legal Notice.

       On April 23, 2007, the Horry County Tax Assessor was served via certified mail with

copies of the Verified Complaint of Forfeiture, Amended Verified Complaint of Forfeiture,

Lis Pendens, Warrant for Arrest, and Legal Notice.

       On April 25, 2007, the North Carolina Department of Revenue was served via

certified mail with copies of the Verified Complaint of Forfeiture, Amended Verified

Complaint, Lis Pendens, Warrant for Arrest, and Legal Notice.

       On May 1, 2007, Craig Memory was served via certified mail with copies of the

Verified Complaint of Forfeiture, Amended Complaint of Forfeiture, Lis Pendens, Warrant

for Arrest, and Legal Notice.

       On May 21, 2007, William L. Osteen, Jr., Esquire and Luther D. Starling, Jr., Esquire

filed a Motion for Extension of Time to file a claim or statement of interest on behalf of

Robert Harrison, individually, Shamrock, LLC, Harrison Amusement Company, Inc., Otis

Harrison, individually, Rose Harrison, individually, and Harrison Music Company, Inc. to

August 25, 2007. On May 29, 2007, the Motion for Extension of Time to file a claim and/or

answer was granted.

       On August 23, 2007, William L. Osteen, Jr., Esquire and Luther D. Starling, Jr.,

Esquire filed a Motion for Extension of Time to file a claim or statement of interest on behalf

of Robert Harrison, individually, Rose Harrison, individually, and Harrison Music Company,

Inc. to December 24, 2007. On September 7, 2007, the Motion for Extension of Time to file


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a claim and/or answer was granted.

        On August 23, 2007, William L. Osteen, Jr., Esquire filed a Motion to Withdraw as

Counsel of record for Robert Harrison, individually, Harrison Amusement Company, Inc.,

and Shamrock, LLC. On September 7, 2007, the Motion to Withdraw as Counsel of Record

filed by William L. Osteen, Jr. was granted.

        On December 22, 2007, a Notice of Appearance on behalf of Robert Harrison,

Harrison Amusement Company, Inc., and Shamrock, LLC was filed by Kearns Davis,

Esquire.

        Various Orders of the Court further extended the time for Robert Harison, Harrison

Amusement Company, Inc., and Shamrock, LLC to file a claim and/or answer to March 24,

2008.

        Various Orders of the Court further extended the time for Otis Harrison, Rose

Harrison, and Harrison Music Company, Inc. to file a claim and/or answer to March 23,

2008.

        A Notice of Settlement with Wachovia Bank was filed on March 5, 2008.

        A Notice of Settlement between Plaintiff, United States of America, and Claimants,

Otis T. Harrison, Rose C. Harrison, Robert Harrison, Shamrock, LLC, Harrison Amusement

Company, Inc., and Harrison Music Company was filed on March 6, 2008.

        All persons and entities, except Otis T. Harrison, Rose C. Harrison, Robert Harrison,

Shamrock, LLC, Harrison Amusement Company, Inc., Harrison Music Company, Inc., and


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Wachovia Bank have failed to file a claim or answer or otherwise respond within the time

permitted by Rule G of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Claims.

       NOW, THEREFORE, on motion of the plaintiff, United States of America, for a

Decree and Judgment of Forfeiture, it is hereby

       ORDERED, ADJUDGED AND DECREED that pursuant to Rule 54, Federal Rules

of Civil Procedure, the following property shall be forfeited to the United States of America

and no right, title or interest in the party shall exist in any other party, subject only to the

rights of Wachovia Bank, N.A. as set forth in a Settlement Agreement filed March 5, 2008:

       (a)    18 Charlestowne Court, Pawley’s Island, Georgetown County, South Carolina,

              and all furnishings, fixtures, and equipment at that address, with all

              appurtenances and improvements thereon;

       (b)    902 South Waccamaw Drive, Garden City, Georgetown County, South

              Carolina, and all furnishings, fixtures, and equipment at that address with all

              appurtenances and improvements thereon;

       (c)    969 South Waccamaw Drive, Garden City, Georgetown County, South

              Carolina, and all furnishings, fixtures, and equipment at that address with all

              appurtenances and improvements thereon;

       (d)    1018 South Waccamaw Drive, Garden City, Georgetown County, South

              Carolina, and all furnishings, fixtures, and equipment at that address with all


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      appurtenances and improvements thereon;

(e)   1050 South Waccamaw Drive, Garden City, Georgetown County, South

      Carolina, and all furnishings, fixtures, and equipment at that address with all

      appurtenances and improvements thereon;

(f)   1052 South Waccamaw Drive, Garden City, Georgetown County, South

      Carolina, and all furnishings, fixtures, and equipment at that address with all

      appurtenances and improvements thereon;

(g)   1779 South Waccamaw Drive, Garden City, Georgetown County, South

      Carolina, and all furnishings, fixtures, and equipment at that address with all

      appurtenances and improvements thereon;

(h)   1875 South Waccamaw Drive, Garden City, Georgetown County, South

      Carolina, and all furnishings, fixtures, and equipment at that address;

(i)   11 South Pinewood Drive, Surfside Beach, Horry County, South Carolina, and

      all furnishings, fixtures, and equipment at that address with all

      appurtenances and improvements thereon;

(j)   611-A South Ocean Boulevard, Surfside Beach, Horry County, South Carolina,

      and all furnishings, fixtures, and equipment at that address with all

      appurtenances and improvements thereon;

(k)   1017-A South Ocean Boulevard, Surfside Beach, Horry County, South

      Carolina, and all furnishings, fixtures, and equipment at that address with all


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       appurtenances and improvements thereon;

 (l)   1017-B South Ocean Boulevard, Surfside Beach, Horry County, South

       Carolina, and all furnishings, fixtures, and equipment at that address with all

       appurtenances and improvements thereon;

 (m)   17-B North Ocean Boulevard, Surfside Beach, Horry County, South Carolina,

       and all furnishings, fixtures, and equipment at that address with all

       appurtenances and improvements thereon;

 (n)   1214-B North Ocean Boulevard, Surfside Beach, Horry County, South

       Carolina, and all furnishings, and equipment at that address with all

       appurtenances and improvements thereon;

 (o)   1414-B North Ocean Boulevard, Surfside Beach, Horry County, South

       Carolina, and all furnishings, fixtures, and equipment at that address with all

       appurtenances and improvements thereon;

 (p)   .85 acres (36,848 Sq. Ft.) designated as the remaining portion of TMS 191-15-

       10-014, on that certain map titled “Final Plat of the Palms located in the

       highway section of Surfside Beach, Horry County, South Carolina” as recorded

       in the office of the Register of Deeds for Horry County in Plat Book 206 at

       Page 228, Tax Map Number 191-15-10-TBD, with all appurtenances and

       improvements thereon;

 (q)   Lot 3, Block 1 of Lakewood Heights Section, Socastee Township, Horry


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              County, South Carolina, As Recorded in the Office of the Clerk of Court for

              Horry County in Plat Book 21 at Page 137, Tax Map Number 191-16-26-001,

              with all appurtenances and improvements thereon;

       (r)    104 West Main Street, Bennettsville, Marlboro County, South Carolina;

       (s)    108 Broad Street, Bennettsville, Marlboro County, South Carolina;

       (t)    500 East Main Street, Hamlet, Richmond County, North Carolina;

       (u)    500 Mill Road, Hamlet, Richmond County, North Carolina;

       (v)    500 King Street, Hamlet, Richmond County, North Carolina;

       (w)    564 Highway 74 West, Rockingham Township, Richmond County, North

              Carolina.

       IT IS FURTHER ORDERED that the Clerk of the Court shall forward eight (8)

certified copies of this Order to the United States Attorney’s Office, Middle District of North

Carolina, Attention: Assistant U.S. Attorney Lynne P. Klauer.

       This the 30th day of April, 2008.




                                                              United States District Judge




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